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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK


DWIGHT NIEVES,

                            Plaintiff,
                                                  Civil Action No.: 1:20-cv-1191
       v.

THE PLAZA REHABILITATION &                        PROPOSED ORDER COMPELLING
NURSING CENTER and CITADEL CARE                   STRATUS AUDIO, INC. TO PRODUCE
CENTERS,                                          INTERPRETING RECORDS BY
                                                  JANUARY 29, 2021
                            Defendants.


       Defendants The Plaza Rehabilitation & Nursing Center and Citadel Care Centers served a

subpoena on Stratus Audio, Inc., requiring production of “[a]ny and all documents regarding

Dwight Nieves from December 2018 to February 2019.” Stratus Audio Inc. has not produced such

records to date. The subpoena was properly served on December 1, 2020, requiring production on

December 8, 2020. Having considered Plaintiff’s request to compel production of those records,

(ECF No. 26), the request is GRANTED, and Stratus Audio, Inc. must provide responses by

January 29, 2021.
                         11 day of January 2021.
       SO ORDERED this ____



                                                  ____________________________________
                                                            Judge Ona T. Wang
                                                       United States Magistrate Judge
